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                            IN THE UNITED STATES DISTRICT COURT 
                                 FOR THE DISTRICT OF KANSAS 
 
 
UNITED STATES OF AMERICA,             )                             
                                      Plaintiff,  
                                      )                                               
                                       
                                      )       
            vs.                               
                                      )         Case No. 13‐40128‐01‐DDC 
                                      )                                         
CHRISTINE KILPATRICK,                 )                                         
                        Defendant.    )            
____________________________________)              
 
 
                     MOTION TO MODIFY CONDITIONS  
                            OF PRETRIAL RELEASE 
 
      COMES NOW Christine Kilpatrick, by and through counsel, Andrew J. 

McGowan, Assistant Federal Public Defender for the District of Kansas, and moves this 

Court for an Order modifying the conditions of her pretrial release to allow Ms. 

Kilpatrick to travel to the Virgin Islands and to have contact with C.T.  In support of this 

motion, Ms. Kilpatrick states as follows: 

         1.  Ms. Kilpatrick is currently on pretrial release. 

         2.  On June 10, 2014 the conditions of release were modified by the Consent to 

Modify Conditions of Release (Doc. 49) to allow Ms. Kilpatrick to have contact with C.T. 

and L.V. by phone or Skype. Also, as a condition of her release, Ms. Kilpatrick may only 

travel within the state of Kansas. 



                                                      
 
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       3.  C.T.’s paternal grandfather, who he was very close to, passed away 

unexpectedly. The funeral service is scheduled for December 6, 2014.  C.T. is having a 

difficult time with his grandfather’s death and is asking to see his mother. The wife of 

the recently deceased, C.T.’s grandmother, has been calling both the prosecutor and 

defense counsel asking that Ms. Kilpatrick be allowed to see C.T. She believes that this 

meeting would be in C.T.’s best interest. She has advised the investigator for the Federal 

Defender for Kansas that she would be willing to supervise any such visitation.  

       4.  Ms. Kilpatrick is asking to be allowed to travel to the Virgin Islands for a 

duration of 5 days to be able to comfort her son during this difficult time. Visits with 

him will be supervised by C.T.’s grandmother.  

       5.  At this time, Ms. Kilpatrick is not requesting permission to see L.V. We have 

not been able to speak with L.V.’s father to see if he would agree to these visits.  

       6.  The government has been contacted about this request for modification and 

have indicated that they will defer to her probation officer. 

       WHEREFORE, Ms. Kilpatrick respectfully moves this Court for an Order 

granting modification of her conditions of pretrial release to allow her to travel to the 

Virgin Islands for 5 days and to have supervised contact with her son, C.T. 

                                            

 


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                                          Respectfully submitted, 

 
                                          S/ Andrew J. McGowan     #16216                                    
                                          ANDREW J. McGOWAN   
                                          Assistant Federal Public Defender 
                                          117 SW 6th Avenue, Suite 200 
                                          Topeka KS 66603‐3840 
                                          Phone: 785/232‐9828 
                                          Fax: 785/232‐9886 
                                          Email: Andrew_McGowan@fd.org  
 
                                            
                                            
                                CERTIFICATE OF SERVICE 
 
        I hereby certify that on December 4, 2014, I electronically filed the foregoing with 
the clerk of the court by using the CM/ECF system which will send a notice of electronic 
filing to the following: 
         
        Christine Kenney                          
        Assistant United States Attorney          
        Christine.Kenney@usdoj.gov         
 
        Robin A. Graham 
        OSJA 
        robin.a.graham2.civ@mail.mil       
        
        
                                          S/ Andrew J. McGowan                       
 




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